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 2    3550 North Central Avenue, Suite 1006
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      Attorneys for Trustee, David A. Birdsell
 5
                                      UNITED STATES BANKRUPTCY COURT
 6
                                              DISTRICT OF ARIZONA
 7
      In re:                                             ) Chapter 7
 8                                                       )
      DUANE D. H. PITT,                                  ) Case No. 2:22-bk-05046-MCW
 9                                                       ) NOTICE OF TRUSTEE’S SALE
10                 Debtor.                               )
                                                         ) [ESTATE’S INTEREST IN
11                                                       ) ENTITIES(S)/TRUST(S) HOLDING AN
                                                         ) INTEREST IN A 1988 85 FT. BROWARD
12                                                           MOTOR YACHT]
                                                         )
13            NOTICE IS HEREBY GIVEN, pursuant to Section 363 of the United States Bankruptcy Code,
      Bankruptcy Rule 6004 and Local Bankruptcy Rule 6004-1, that property belonging to the estate of the
14    above-named debtor, Duane D. H. Pitt (“Debtor”) will be sold to the person making the highest and best
      offer on August 25, 2023 at 8:30 a.m. (Phoenix time). The sale will be conducted telephonically only.
15    Bidders may participate in the sale by connecting to a conference call at the foregoing date and time.
16    The conference call may be accessed by calling: (310) 372-7549, wait for the prompt, then enter access
      code 831482 and then press #.
17
               Property to be sold:   The Debtor’s interest in Bermuda company Northrock Trust Ltd.
18                                    (“Company”) and The Arthur-Armstrong Trust (“Trust”), which Company
19                                    and/or Trust is believed to hold an interest in a 1988 85 Ft. Broward Motor
                                      Yacht (“Yacht”). The Yacht is more fully described in Exhibit A attached
20                                    hereto.
21             Terms of Sale:         Cashier’s check within 3 days of sale, payable to “David A. Birdsell,
22                                    Trustee.” The sale is “AS IS, WHERE IS” without any representations or
                                      warranties of any kind or nature. The sale is subject to all liens, claims
23                                    and interests. The Trustee does not know of any liens at this time. There
                                      is not an appraisal of the property. Interested parties are expected to
24                                    conduct their own due diligence.
25                                    All sales are subject to Trustee’s final approval. The property to be sold
26                                    will be conveyed by an Assignment executed by the Trustee.
                                      The Trustee may establish minimum bidding intervals at the sale in the
                                      Trustee’s discretion. All bidders will be held strictly liable for any bid

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 1                                  submitted. Each party that places a bid shall provide their name, e-mail
                                    and phone upon placing their initial bid. If a party other than the current
 2                                  buyer is the highest bidder and does not close the sale, the Trustee reserves
 3                                  the right to proceed to the next highest bid received and close with that
                                    bidder, which will be reflected in the report of sale to be filed by the
 4                                  Trustee.

 5           To:                    SM Financial.
 6
             Purchase Price:        $2,500.00, or any person making a higher and better offer. The
 7                                  contemplated sale is subject to higher and better bids. The property to be
                                    sold will be offered to the person making the highest bid at the sale.
 8
             Inquiries:             Contact the Trustee’s counsel, Theodore P. Witthoft, Witthoft Derksen,
 9
                                    P.C., 3550 N. Central Ave., Suite 1006, Phoenix, AZ 85012.
10                                  Telephone: (602) 261-7101. E-mail: twitthoft@wdlawpc.com

11
             The prospective buyer is not an insider. All sales are subject to sales tax unless the property
12    being sold is tax exempt or a resale number is used as proof of exemption.

13            The proceeds from the sale of the property shall be paid directly to the Trustee and retained by
      the estate. The bankruptcy estate is the only entity known or believed to hold interests in the property
14    to be sold. No compensation will be paid from the sale proceeds. The Trustee is not aware of a formal
      appraisal of the property to be sold. No motion for stay relief has been filed with respect to the
15    property to be sold.
16             Any person opposing the sale shall file a written objection with the Clerk of the U.S.
17    Bankruptcy Court, 230 N. First Ave., Suite 101, Phoenix, AZ 85003 and mailed to the Trustee’s
      counsel, Theodore P. Witthoft, Witthoft Derksen, P.C., 3550 N. Central Ave., Suite 1006, Phoenix, AZ
18    85012. Any such objection must be filed and served within 21 days of the date of this Notice. If a
      person timely objects in writing and a hearing is requested but has not yet been conducted by the
19    scheduled sale date, bids will still be taken and the sales procedure followed. The closing of the sale
20    will be dependent upon the outcome of the Court hearing on the objection.
              Dated: July 27, 2023.                   WITTHOFT DERKSEN, P.C.
21
22                                                  By /s/ Theodore P. Witthoft         #021632
                                                      Theodore P. Witthoft
23                                                    Attorneys for the Trustee, David A. Birdsell
24
25    THIS SALE NOTICE WAS MAILED TO ALL INDIVIDUALS ON THE DISTRICT OF
      ARIZONA BANKRUPTCY COURT’S MATRIX MAILING LIST BY THE BANKRUPTCY
26    COURT NOTICING CENTER.




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